     Case: 1:22-cv-03998 Document #: 49 Filed: 03/14/23 Page 1 of 1 PageID #:190


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


 Case Title: Dena Natour, for Minor Hadi               Case Number: 22-cv-03998
 Abuatelah v. Village of Oak Lawn, et al.

An appearance is hereby filed by the undersigned as attorney for:
Village of Oak Lawn and Chief of Oak Lawn Police Daniel Vittorio

Attorney name (type or print): Shantel Perez

Firm:     Peterson, Johnson & Murray, LLC

Street address:         200 W. Adams, Suite 2125

City/State/Zip:     Chicago, IL 60606

 Bar ID Number: 6308071                                Telephone Number:           312-724-8024
 (See item 3 in instructions)

Email Address: sperez@pjmlaw.com

Are you acting as lead counsel in this case?                                     Yes           No

Are you acting as local counsel in this case?                                    Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on March 14, 2023

Attorney signature:        S/ Shantel Perez
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                           Revised 8/1/2015
